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Law Offices of Avrum J. Rosen, PLLC                                 Objection Deadline: November 4, 2024
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Attorneys for David J. Doyaga, Sr., Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:                                                              Chapter 7

FOOD FIRST HOUSING DEVELOPMENT                                      Case No.: 24-42370-ess
FUND COMPANY, INC.,

                                             Debtor.
---------------------------------------------------------X

              NOTICE OF ABANDONMENT OF THE ESTATE’S RIGHT,
         TITLE AND INTEREST IN 165 CONOVER STREET ASSOCIATES, L.P.

TO:     ALL KNOWN CREDITORS AND PARTIES IN INTEREST;

        PLEASE TAKE NOTICE, that pursuant to Rule 6007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Section 554 of Title 11 of the United

State Code (the “Bankruptcy Code”), notice is hereby given by David J. Doyaga, Sr., the

Chapter 7 Trustee (the “Trustee”) of the Estate of Food First Housing Development Fund

Company, Inc. (the “Debtor”), through his undersigned counsel, of the proposed

abandonment (the “Abandonment”) of all of his right, title, and interest in and to the

business entity known as 165 Conover Street Associates, L.P. (“165 Conover”). The

Trustee proposes to abandon the estate’s right, title, and interest in 165 Conover for the

following reasons. First, the estate holds only a 1% interest in 165 Conover, which owns

the real property located at 165 Conover Street, Brooklyn, New York 11231 (the “Conover




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Property”).1 Fannie Mae owns the remaining 99% interest. The Trustee explored selling

the estate’s interest to Fannie Mae, but, as of the drafting of this notice, Fannie Mae has

not made an offer, despite already holding a 99% ownership interest. The Trustee submits

that it will be extremely difficult to locate a buyer to purchase the estate’s 1% interest in

165 Conover as the only logical entity to purchase the estate’s nominal interest would be

Fannie Mae. Second, the cost of selling the estate’s 1% stake in 165 Conover will likely

exceed any benefit to the estate. Third, in a letter to the Court dated October 16, 2024 [Dkt.

No. 63], Fannie Mae alleged that the Debtor is responsible for managing the Conover

Property under a certain partnership agreement. However, to the extent that the partnership

agreement is an executory contract, it is deemed rejected by operation of law under Section

365(d)(1). To the extent that the partnership agreement was not rejected, then the Debtor’s

estate may be obligated to maintain the Conover Property, but lacks the necessary funds to

do so. As such, and for the reasons set forth above, the Trustee, in his business judgment,

has determined that the estate’s right, title, and interest in 165 Conover is burdensome to

the Debtor’s estate and should be abandoned.

         PLEASE TAKE FURTHER NOTICE, that the Abandonment is not intended to

be, nor shall be construed as, an abandonment of any other assets, claims or rights of the

Trustee or the Debtor’s estate.

        PLEASE TAKE FURTHER NOTICE, that objections (the “Objections”) to the

Abandonment of 165 Conover, if any, must be in writing, conform with the Bankruptcy

Code, the Bankruptcy Rules and the E.D.N.Y. Local Bankruptcy Rules, state with

particularity the grounds therefor and be filed with the Bankruptcy Court no later than


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  Upon information and belief, the Conover Property is a multifamily apartment building consisting of forty (40)
residential apartments.

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November 4, 2024 as follows: (i) through the Court’s CM/ECF system, which may be

accessed through the internet at the Court’s website at https://www.nyeb.uscourts.gov/ and

in portable document format (PDF) using Adobe Exchange Software for conversion; or (ii)

if a party is unavailable to file electronically, such party shall submit the objection in PDF

format on portable media in an envelope with the case name, case number, type and title

of document, document number to which the objection refers and the file name on the

outside of the envelope.

       PLEASE TAKE FURTHER NOTICE, that if no Objections are filed, the estate’s

interest in the Properties will be deemed abandoned back to the Debtor by operation of law.

       PLEASE TAKE FURTHER NOTICE, that in the event Objections are filed with

the Court and served upon the undersigned, there will be a hearing scheduled and held

before the Honorable Elizabeth S. Stong, United States Bankruptcy Judge, to consider any

such Objections, notice of which will be given to all known creditors and parties in interest

by the Trustee.

Dated: October 16, 2024                               Respectfully submitted,
       Huntington, New York
                                                      Law Offices of
                                                      Avrum J. Rosen, PLLC

                                               By:    /s/ Alex E. Tsionis
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